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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                       Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                  Case No. 23-60507 (PGR)

                                 Debtor.


       NOTICE OF FILING OF THIRD MONTHLY FEE STATEMENT OF
 PACHULSKI STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES
 RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO OFFICIAL
   COMMITTEE OF UNSECURED CREDITORS FOR THE ROMAN CATHOLIC
        DIOCESE OF OGDENSBURG, NEW YORK FOR THE PERIOD
            NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

                   PLEASE TAKE NOTICE that in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Members of Official Committees [Docket No. 250], Pachulski Stang Ziehl & Jones LLP has filed

its Third Monthly Fee Statement for Compensation for Services Rendered and Reimbursement of

Expenses as Counsel to the Official Committee of Unsecured Creditors for the Roman Catholic

Diocese of Ogdensburg, New York for the Period November 1, 2023 Through November 30,

2023, a copy of which is attached hereto and is hereby served upon you.




DE:4866-8966-8246.1 18493.002
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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       December 13, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




                                                 2
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                                   Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                              Case No. 23-60507 (PGR)

                                    Debtor.


     THIRD MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES
    LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
      OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS FOR THE ROMAN CATHOLIC DIOCESE OF OGDENSBURG, NEW
     YORK FOR THE PERIOD NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023

    Name of Applicant                                       Pachulski Stang Ziehl & Jones LLP

    Authorized to Provide Professional Services             Official Committee of Unsecured Creditors
    to:

    Date of Retention:                                      August 17, 20231

    Period for which compensation and                       11/1/23-11/30/23
    Reimbursement is sought:

    Amount of compensation sought as well as                $58,320.00
    actual, reasonable and necessary:

    Amount of expense reimbursement sought as               $1,684.77
    actual, reasonable and necessary:



This is a monthly fee statement. It is the third monthly fee statement by Pachulski Stang Ziehl &
Jones LLP.2



1
    The order approving the employment of PSZJ was entered by the Court on October 16, 2023 [Docket No. 193].
2
  Pursuant to the Order Establishing Procedures for Interim Compensation and Reimbursement for Expenses for
Professionals and Members of Official Committees [Docket No. 250], attached as Exhibit A is the following: (i) a
list of the individuals and their respective titles who provided services during the statement period, (ii) their
respective billing rates, (iii) the aggregate hours spent by each individual, (iv) a reasonably detailed breakdown of
the disbursements incurred, and (v) contemporaneously maintained time entries for each individual in increments of
tenths (1/10) of an hour.


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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       December 13, 2023
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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                        EXHIBIT A
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                                                                 10100 Santa Monica Blvd.
                                                                 13th Floor
                                                                 Los Angeles, CA 90067




Diocese of Ogdensburg O.C.C.                                     November 30, 2023
IDS                                                              Invoice 135258
                                                                 Client 18493.00002




RE: Committee Representation



           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 11/30/2023

              FEES                                                $58,320.00
              EXPENSES                                             $1,684.77
              TOTAL CURRENT CHARGES                               $60,004.77

              BALANCE FORWARD                                    $262,741.88
              TOTAL BALANCE DUE                                  $322,746.65
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Summary of Services by Professional
ID       Name                                Title                   Rate     Hours           Amount
IAWN     Nasatir, Iain A.W.                  Partner               800.00      0.80           $640.00
IDS      Scharf, Ilan D.                     Partner               800.00     15.30       $12,240.00
IDS      Scharf, Ilan D.                     Partner                 0.00      9.00             $0.00
JSP      Pomerantz, Jason S.                 Partner               800.00     20.70       $16,560.00
JSP      Pomerantz, Jason S.                 Partner                 0.00      0.00             $0.00
EG       Gray, Erin                          Counsel               800.00     14.70       $11,760.00
KBD      Dine, Karen B.                      Counsel               800.00     21.40       $17,120.00
KBD      Dine, Karen B.                      Counsel                 0.00     11.40             $0.00
                                                                    93.30                 $58,320.00
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Summary of Services by Task Code
Task Code       Description                                             Hours                   Amount
AA              Asset Analysis and Recovery                              25.80              $20,640.00
CA              Case Administration                                       8.60               $6,880.00
CO              Claims Administration and Objections                      9.60               $7,680.00
CP              PSZJ Compensation                                        14.30              $11,440.00
GC              General Creditors' Committee                              3.00               $2,400.00
HE              Hearings                                                  8.80               $7,040.00
IC              Insurance Coverage                                        0.80                  $640.00
ME              Mediation                                                 1.80               $1,440.00
RPO             Other Professional Retention                              0.20                  $160.00
TR              Travel                                                   20.40                    $0.00
                                                                         93.30              $58,320.00
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Summary of Expenses
Description                                                                                   Amount
Air Fare                                                                                      $507.80
Attorney Service                                                                              $106.99
Hotel Expense                                                                                 $340.48
Lexis/Nexis- Legal Research                                                                    $33.20
Litigation Support Vendors                                                                    $250.00
Pacer - Court Research                                                                         $42.00
Reproduction Expense - @0.10 per page                                                         $192.80
Transcript                                                                                    $211.50
                                                                                           $1,684.77
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                                                                             Hours     Rate          Amount

Asset Analysis and Recovery
11/01/2023 IDS       AA      Review document requests and information.        0.50   800.00          $400.00
11/01/2023 IDS       AA      Call with J.S. Pomerantz and K. Dine             0.30   800.00          $240.00
                             regarding information request regarding
                             DLF/DTF
11/01/2023 JSP       AA      Call with M. Babcock, K. Dine and others         0.30   800.00          $240.00
                             regarding DLF and DTF issues
11/01/2023 JSP       AA      Correspondence regarding DLF and DTF             0.20   800.00          $160.00
11/01/2023 JSP       AA      Review correspondence from M. Babcock and        0.40   800.00          $320.00
                             K. Dine regarding discovery
11/01/2023 JSP       AA      Correspondence regarding NDA                     0.20   800.00          $160.00
11/01/2023 KBD       AA      Telephone call regarding discovery with BRG,     0.30   800.00          $240.00
                             J. Pomerantz and I. Scharf.
11/01/2023 KBD       AA      Analyze correspondence among PSZJ and            0.30   800.00          $240.00
                             BSK regarding discovery.
11/02/2023 KBD       AA      Analysis of document production regarding        1.30   800.00      $1,040.00
                             DLF/DTF.
11/02/2023 KBD       AA      Correspondence among PSZJ and BOND,              0.10   800.00           $80.00
                             SCHOENECK & KING, PLLC regarding
                             discovery.
11/03/2023 JSP       AA      Review correspondence from M. Babcock            0.60   800.00          $480.00
                             regarding DLF and DTF issues
11/03/2023 KBD       AA      Analyze draft order re DLF/DTF.                  0.10   800.00           $80.00
11/03/2023 KBD       AA      Analyze proposed DLF/DTF budget.                 0.10   800.00           $80.00
11/06/2023 JSP       AA      Analysis of discovery based on                   1.60   800.00      $1,280.00
                             correspondence from M. Babcock
11/06/2023 KBD       AA      Draft document requests for Diocese and          1.20   800.00          $960.00
                             related entities.
11/07/2023 JSP       AA      Attention to DLF/DTF issues                      0.90   800.00          $720.00
11/08/2023 IDS       AA      Review discovery demands                         1.10   800.00          $880.00
11/08/2023 JSP       AA      Analysis of DLF/DTF proposed budget,             1.80   800.00      $1,440.00
                             including documents in connection with same
11/08/2023 KBD       AA      Call with Jason Pomerantz on discovery status    0.10   800.00           $80.00
                             and next steps.
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                                                                              Hours     Rate          Amount
11/08/2023 KBD       AA      Correspondence with S. Temes regarding            0.10   800.00           $80.00
                             discovery.

11/09/2023 KBD       AA      Call with J. Pomerantz regarding discovery.       0.10   800.00           $80.00
11/10/2023 KBD       AA      Correspondence with BRG and PSZJ                  0.10   800.00           $80.00
                             regarding discovery.

11/10/2023 KBD       AA      Correspondence with BOND, SCHOENECK               0.10   800.00           $80.00
                             & KING, PLLC regarding discovery.

11/10/2023 KBD       AA      Review interim order on DLF.                      0.10   800.00           $80.00
11/10/2023 KBD       AA      Correspondence with Anderson firm regarding       0.10   800.00           $80.00
                             discovery.

11/14/2023 JSP       AA      Correspondence from M. Babcock and others         0.90   800.00          $720.00
                             regarding DLF/DTF
11/15/2023 JSP       AA      Analysis of issues concerning DLT/DTF             0.80   800.00          $640.00
                             requests/production
11/15/2023 JSP       AA      Review correspondence from M. Babcock             0.70   800.00          $560.00
                             regarding discovery requests
11/15/2023 KBD       AA      Analyze discovery issues relating to              0.40   800.00          $320.00
                             DLF/DTF.
11/16/2023 KBD       AA      Draft discovery requests to Debtor and related    0.30   800.00          $240.00
                             correspondence.
11/17/2023 JSP       AA      Attention to DLF/DTF budget/discovery             0.80   800.00          $640.00
11/17/2023 JSP       AA      Review correspondence from M. Babcock and         1.60   800.00      $1,280.00
                             others at BRG regarding discovery
11/20/2023 KBD       AA      Call with BSK and I. Scharf regarding             0.20   800.00          $160.00
                             outstanding discovery issues.
11/21/2023 JSP       AA      Review discovery requests, including              2.60   800.00      $2,080.00
                             analyzing follow up, including correspondence
                             in connection with same
11/21/2023 KBD       AA      Attention to document production regarding        0.40   800.00          $320.00
                             DLF/DTF motion.
11/22/2023 JSP       AA      Attention to issues regarding DLF/DTF             0.80   800.00          $640.00
11/27/2023 JSP       AA      Attention to discovery issues                     1.80   800.00      $1,440.00
11/28/2023 JSP       AA      Correspondence regarding discovery issues         0.60   800.00          $480.00
11/30/2023 IDS       AA      Call w/K. Dine and J. Pomerantz regarding         0.40   800.00          $320.00
                             discovery.
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                                                                              Hours     Rate          Amount
11/30/2023 JSP       AA      Call regarding DLF, DTF and other related         0.40   800.00          $320.00
                             issues

11/30/2023 KBD       AA      Call with BRG and J. Pomerantz regarding          0.40   800.00          $320.00
                             document discovery.

11/30/2023 KBD       AA      Correspondence with PSZJ team regarding           0.10   800.00           $80.00
                             discovery.

11/30/2023 KBD       AA      Call with J. Pomerantz and I. Scharf regarding    0.40   800.00          $320.00
                             outstanding discovery issues.

11/30/2023 KBD       AA      Analyze materials in Everlaw relating to          0.20   800.00          $160.00
                             Debtor.
                                                                              25.80              $20,640.00

Case Administration
11/01/2023 IDS       CA      Call with BSK regarding pending matters           0.30   800.00          $240.00
11/02/2023 KBD       CA      Telephone call with J. Pomerantz regarding        0.10   800.00           $80.00
                             scheduling.
11/06/2023 EG        CA      Review filings and update WIP.                    1.00   800.00          $800.00
11/07/2023 KBD       CA      Telephone call BOND, SCHOENECK &                  0.20   800.00          $160.00
                             KING, PLLC team regarding outstanding
                             issues.
11/08/2023 IDS       CA      Call with K. Dine regarding case                  0.20   800.00          $160.00
11/09/2023 EG        CA      Update WIP                                        1.00   800.00          $800.00
11/09/2023 EG        CA      Attend WIP Call.                                  0.50   800.00          $400.00
11/09/2023 IDS       CA      Meeting with PSZJ team regarding case issues      0.50   800.00          $400.00
11/09/2023 JSP       CA      Prepare for/participate on case status call       0.50   800.00          $400.00
11/09/2023 KBD       CA      PSZJ team call regarding outstanding action       0.50   800.00          $400.00
                             items.

11/10/2023 KBD       CA      Telephone call with I. Scharf regarding next      0.10   800.00           $80.00
                             steps.

11/12/2023 EG        CA      Review filings, update WIP List and calendar      0.50   800.00          $400.00
                             items.

11/13/2023 EG        CA      Updated WIP                                       1.00   800.00          $800.00
11/15/2023 EG        CA      Update WIP and distribute for WIP Call.           0.30   800.00          $240.00
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                                                                              Hours     Rate          Amount
11/15/2023 KBD       CA      Telephone call with J. Pomerantz regarding        0.10   800.00           $80.00
                             status.

11/22/2023 EG        CA      Update WIP and calendar dates.                    0.80   800.00          $640.00
11/28/2023 EG        CA      Update WIP.                                       0.50   800.00          $400.00
11/30/2023 EG        CA      Update WIP.                                       0.50   800.00          $400.00
                                                                               8.60               $6,880.00

Claims Administration and Objections
11/03/2023 KBD       CO      Analyze motion for reconsideration.               0.20   800.00          $160.00
11/03/2023 KBD       CO      Draft objection to motion for reconsideration.    0.80   800.00          $640.00
11/03/2023 KBD       CO      Research legal issues regarding                   0.30   800.00          $240.00
                             reconsideration.

11/09/2023 IDS       CO      Call with Stang regarding bar date                0.40   800.00          $320.00
11/09/2023 IDS       CO      Review orders entered today                       0.30   800.00          $240.00
11/19/2023 EG        CO      Research and draft response to Motion to          3.10   800.00      $2,480.00
                             Reconsider Bar Date Order

11/19/2023 KBD       CO      Draft objection to Century motion.                0.50   800.00          $400.00
11/19/2023 KBD       CO      Analyze hearing transcript relating to Century    0.40   800.00          $320.00
                             motion.

11/20/2023 KBD       CO      Revisions to objection to Century motion for      0.70   800.00          $560.00
                             reconsideration.
11/21/2023 KBD       CO      Analyze objection to Century motion.              0.30   800.00          $240.00
11/21/2023 KBD       CO      Telephone call with I. Scharf regarding           0.10   800.00           $80.00
                             Century motion.
11/22/2023 EG        CO      Finalize and file opposition to Century's         1.00   800.00          $800.00
                             Motion to Reconsider Bar Date Order.
11/22/2023 KBD       CO      Revise objection to Century motion and            0.70   800.00          $560.00
                             coordinate filing.
11/30/2023 KBD       CO      Analyze Century reply in support of               0.70   800.00          $560.00
                             reconsideration.
11/30/2023 KBD       CO      Correspondence with Century regarding             0.10   800.00           $80.00
                             request relating to Bar Date Order.
                                                                               9.60               $7,680.00
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                                                                              Hours     Rate          Amount

PSZJ Compensation
11/08/2023 JSP       CP      Attention to fee application matters in           0.40   800.00          $320.00
                             anticipation of interim fee application

11/08/2023 KBD       CP      Working on preparation of monthly fee             1.80   800.00      $1,440.00
                             statements in anticipation of interim fee
                             application
11/09/2023 EG        CP      Review interim compensation order (.40);          0.50   800.00          $400.00
                             draft email re same (.10) in anticipation of
                             interim fee application

11/11/2023 KBD       CP      Work on monthly fee statement in anticipation     1.30   800.00      $1,040.00
                             of interim fee application

11/13/2023 EG        CP      Draft emails to professionals re: interim         0.20   800.00          $160.00
                             compensation procedures.

11/14/2023 JSP       CP      Work on fee application                           0.70   800.00          $560.00
11/17/2023 KBD       CP      Call with J. Pomerantz regarding monthly fee      0.10   800.00           $80.00
                             statement in anticipation of interim fee
                             application
11/17/2023 KBD       CP      Analyze draft monthly fee statement in            0.30   800.00          $240.00
                             anticipation of interim fee application
11/18/2023 IDS       CP      Review and comment on PSZJ fee statements         1.20   800.00          $960.00
                             for in anticipation of interim fee application
11/18/2023 JSP       CP      Work on fee application                           0.60   800.00          $480.00
11/19/2023 KBD       CP      Revisions to fee statement in anticipation of     0.40   800.00          $320.00
                             interim fee application

11/20/2023 EG        CP      Finalize, review and serve PSZJ's first and       2.70   800.00      $2,160.00
                             second monthly fee statements in anticipation
                             of interim fee application
11/20/2023 EG        CP      Finalize, review and serve PSZJ's first and       0.50   800.00          $400.00
                             second monthly fee statements in anticipation
                             of interim fee application

11/20/2023 JSP       CP      Calls regarding fee application                   0.00   800.00              N/C
11/20/2023 JSP       CP      Work on monthly fee application in                0.90   800.00          $720.00
                             anticipation of interim fee application

11/20/2023 KBD       CP      Call with W. Ramseyer and J. Pomerantz            0.30   800.00          $240.00
                             regarding monthly fee statements in
                             anticipation of interim fee application
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                                                                             Hours     Rate          Amount
11/20/2023 KBD       CP      Call with W. Ramseyer, J. Pomerantz, and E.      0.20   800.00          $160.00
                             Gray regarding monthly fee statements in
                             anticipation of interim fee application
11/20/2023 KBD       CP      Correspondence among team regarding              0.10   800.00           $80.00
                             monthly fee statement in anticipation of
                             interim fee application
11/20/2023 KBD       CP      Review monthly fee statements in anticipation    0.40   800.00          $320.00
                             of interim fee application

11/21/2023 IDS       CP      Review and revise PSZJ fee statement in          1.10   800.00          $880.00
                             anticipation of interim fee application

11/22/2023 JSP       CP      Work on fee application                          0.60   800.00          $480.00
                                                                             14.30              $11,440.00

General Creditors' Committee
11/01/2023 IDS       GC      Email update to Committee                        1.20   800.00          $960.00
11/01/2023 KBD       GC      Analyze correspondence among Committee,          0.20   800.00          $160.00
                             SCC and PSZJ regarding ongoing case issues.

11/03/2023 IDS       GC      Call with PSZJ, Burns Bair LLP and SCC           0.50   800.00          $400.00
                             regarding ongoing case issues.

11/03/2023 KBD       GC      Call with S. LeClair regarding ongoing case      0.20   800.00          $160.00
                             issues.
11/03/2023 KBD       GC      Call with PSZJ, Burns Bair LLP and SCC           0.50   800.00          $400.00
                             regarding ongoing case issues.
11/12/2023 EG        GC      Draft email to Myra and Camille Gibeau re:       0.40   800.00          $320.00
                             NDA (.10); draft email to committee counsel
                             re: NDA (.30)

                                                                              3.00               $2,400.00

Hearings
11/01/2023 KBD       HE      Telephone call with I. Scharf regarding          0.20   800.00          $160.00
                             hearing and next steps.

11/06/2023 IDS       HE      Prepare for hearing                              2.50   800.00      $2,000.00
11/06/2023 KBD       HE      Call with I. Scharf regarding hearing.           0.10   800.00           $80.00
11/07/2023 IDS       HE      Attend hearing                                   2.00   800.00      $1,600.00
11/07/2023 IDS       HE      Prepare for hearing                              2.00   800.00      $1,600.00
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                                                                            Hours     Rate          Amount
11/07/2023 KBD       HE      Prepare for and participate in hearing.         2.00   800.00      $1,600.00
                                                                             8.80               $7,040.00

Insurance Coverage
11/08/2023 IAWN IC           Review form of precedent re 2004 and send to    0.80   800.00          $640.00
                             I. Scharf, J. Stang and K. Dine re potential
                             use.
                                                                             0.80                   $640.00

Mediation
11/03/2023 KBD       ME      Draft letter regarding mediator appointment.    0.60   800.00          $480.00
11/03/2023 KBD       ME      Analyze Debtor letter to court regarding        0.10   800.00           $80.00
                             mediation.
11/07/2023 IDS       ME      Draft letter to court regarding mediators       0.40   800.00          $320.00
11/08/2023 IDS       ME      Attention to court order regarding mediator     0.20   800.00          $160.00
                             selection
11/08/2023 IDS       ME      Attention to court order regarding mediator     0.20   800.00          $160.00
                             selection
11/08/2023 KBD       ME      Review court text order regarding mediator.     0.10   800.00           $80.00
11/10/2023 KBD       ME      Review Diocese letter re mediator.              0.10   800.00           $80.00
11/10/2023 KBD       ME      Review insurer letter re mediator.              0.10   800.00           $80.00
                                                                             1.80               $1,440.00

Other Professional Retention
11/13/2023 EG        RPO     Review and lodge order approving Burns Bair     0.20   800.00          $160.00
                             application.
                                                                             0.20                   $160.00

Travel
11/06/2023 IDS       TR      Travel to Syracuse in advance of hearing        4.00   800.00              N/C
11/06/2023 KBD       TR      Travel to Utica for hearing. (No Charge)        5.40   800.00              N/C
11/07/2023 IDS       TR      Travel to hearing from Syracuse (No Charge)     1.00   800.00              N/C
11/07/2023 IDS       TR      Travel to NYC from hearing (No Charge)          4.00   800.00              N/C
11/07/2023 KBD       TR      Travel to and from hearing.                     6.00   800.00              N/C
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                                                                       20.40                   $0.00

   TOTAL SERVICES FOR THIS MATTER:                                                     $58,320.00
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Expenses
11/30/2020 OS        Everlaw, Inv. 98374                                          250.00
11/03/2023 LN        18493.00002 Lexis Charges for 11-03-23                        33.20
11/06/2023 AS        Dial7 taxi cab to JFK airport, KBD                           106.99
11/07/2023 AF        Delta Syracuse,NY - NYC Kennedy, Ticket NO.                  507.80
                     0062186797195, KBD

11/07/2023 HT        Double Tree Hotel Syracuse, 1 night stay, Nov 6, KBD         340.48
11/20/2023 TR        JJ COURT, Inv. 2023-02266 ,KLL                               211.50
11/22/2023 RE2       ( 875 @0.10 PER PG)                                           87.50
11/22/2023 RE2       ( 1053 @0.10 PER PG)                                         105.30
11/30/2023 PAC       Pacer - Court Research                                        42.00

   Total Expenses for this Matter                                           $1,684.77
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                                             A/R STATEMENT

   Outstanding Balance from prior invoices as of 11/30/2023         (May not include recent payments)
A/R Bill Number           Invoice Date                 Fee Billed   Expenses Billed         Balance Due

135073                     09/30/2023               $181,889.50            $808.82          $182,698.32
135075                     10/31/2023                $78,104.50          $1,939.06           $80,043.56

           Total Amount Due on Current and Prior Invoices:                                   $322,746.65
